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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION
                       Case No. 14-80001-CR-MIDDLEBROOKS/BRANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  JABER ENTERPRISES, INC.
  d/b/a Fajita's Meat and Fish,

         Defendant.
                                                                       /

               UNOPPOSED MOTION TO AWARD FINAL FEES AND COSTS
                       TO THE RECEIVER AND ATTORNEYS

         George Richards, Receiver, through the undersigned counsel, files this Unopposed Motion

  to Award Final Fees and Costs to the Receiver and the Receiver’s attorneys. In support thereof, the

  Receiver states as follows:

         1.      On July 10, 2014 this Court entered an Order Appointing George Richards of

  National Auction Company, Inc. as the Receiver (DE#135) over certain real property owned by the

  Defendant, Jaber Enterprises, Inc. (“Jaber”). The Receiver was authorized and directed to sell the

  property with the net proceeds thereof to be applied to Defendant’s outstanding restitution obligation

  of $4,000,000.00 (DE#150).

         2.      The Receiver was directed by the Court to sell the real property located at 2508 Egret

  Lake Drive, Greenacres, Palm Beach County, Florida (the “Property”). The Property was owned by

  the Defendant, Jaber, a Florida corporation, and consisted of a single family home.

         3.      In the course of performing his responsibilities, the Receiver: (a) regularly inspects

  the Property; (b) ensures that the Property is secured and that locks are changed; (c) meets with

  tenants/occupants to verify the terms of tenancy and collect any rent payments that are due; (d)

  ensures that any necessary property maintenance is performed; (e) conducts a market study to
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  develop an opinion of value; (f) actively markets and personally shows the Property to interested

  purchasers; and (g) takes such other action as he deems reasonable and necessary in furtherance of

  performing his responsibilities to maintain the status quo and liquidate the asset.

         4.      On May 11, 2015, the Court approved the sale of the Property for $260,000.00

  (DE#179) and the closing occurred on July 10, 2015 (DE#180).

         5.      After payment of closing costs, past due real estate taxes, past due homeowners’

  association dues and commissions to participating real estate brokers, the Receivership estate

  received net proceeds of $237,786.48. A copy of the closing statement is attached hereto as Exhibit

  “A”.

         6.      The Order Appointing Receiver did not specify the amount of compensation to be

  paid to the Receiver for his efforts. In the Southern District of Florida, the customary fee paid to

  receivers in similar cases is a 10% commission based on the sales price of the property, an hourly

  rate for the time expended to administer the receivership and reimbursement of any expenses.

         7.      Notwithstanding the fee structure customarily paid to receivers, the Receiver requests

  payment of a commission of eight percent (8%) of the sales price of the Property, thereby resulting

  in a fee of $20,800.00. The Receiver also requests reimbursement of $1,408.63 in expenses advanced

  for the Property. The Receiver’s Expense Report is attached hereto as Exhibit “B”.

         8.      The Receiver is not requesting hourly compensation for his efforts in administering

  the Receivership and Property in this matter.

         9.      The total amount sought by the Receiver for fees and expenses is $22,208.63.

         10.     In addition to the foregoing fees and expenses, the Receiver engaged Chapman Smith,

  Esq. (“Receiver’s Counsel”) to represent him in this matter to address the legal issues associated

  with the receivership and the sale of the Property.

         11.     As of December 15, 2015, Receiver’s Counsel expended 28.20 hours of attorney and

  paralegal time totaling $8,342.50, and advanced costs totaling $97.93, for a total of $8,440.43. The
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  Affidavit of Attorney Fees and Costs from Receiver’s Counsel is attached hereto as Exhibit “C”.

  An Affidavit of Reasonableness is attached as Exhibit “D”.

         12.     By this Motion, the Receiver seeks the award and disbursement of the following fees

  and costs: (a) $22,806.13 to the Receiver for the receiver’s fee and reimbursement of expenses; and

  (b) $8,440.43 in attorney fees and costs to be awarded to Receiver’s Counsel.

         13.     All amounts awarded to the Receiver and Receiver’s Counsel hereunder will be

  deducted and disbursed from the proceeds of sale of the Property. After deducting all awarded fees

  and expenses, the net proceeds of sale will be paid to the Clerk of Court pursuant to the Order

  Approving Sale and applied to Defendant’s restitution obligation pursuant to applicable law.

         14.     The United States agrees that the time expended and the expenses incurred in this

  matter by the Receiver and Receiver’s Counsel were necessary and reasonable and recommends the

  approval and award of same.

         15.     The Receiver requests that the Court: (a) approve the professional fees and

  compensation to the Receiver and Receiver’s counsel as provided for herein; and (b) authorize the

  payment and disbursement of all awards hereunder to be made from the proceeds of sale. A

  proposed Order Awarding Final Fees and Costs is attached hereto as Exhibit “E”.

         WHEREFORE, the Receiver respectfully requests this Honorable Court approve the

  disbursements requested herein, terminate the receivership and grant such further relief as this Court

  deems just and proper under the circumstances.

                      COMPLIANCE WITH LOCAL RULES 7.3 & 88.9(a)

         The undersigned hereby certifies that prior to filing this motion, the undersigned conferred

  with: (a) Vivian Rosado, AUSA; and (b) (who has no objection to the award of the fees and costs

  requested herein); and (b) James S. Benjamin, Esq., counsel of record for Defendant, each of whom

  had no objection to the award of the fees and costs requested herein.

                                   CERTIFICATE OF SERVICE
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         I hereby certify that on January 12th , 2016, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record or pro se parties identified on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

  other authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                                 Respectfully submitted,


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                                        SERVICE LIST
                           United States v. Jaber Enterprises, Inc.
                   CASE NO. 14-80001-CR-MIDDLEBROOKS/BRANNON
                   United States District Court, Southern District of Florida


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